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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                              Cr. No. 20-261 (DSD/TNL)

UNITED STATES OF AMERICA,                 )
                                          )
                            Plaintiff,    )
                                          )
                                          )              DEFENDANT’S POSITION
              vs.                         )              REGARDING SENTENCING
                                          )
ADITYA RAJ SHARMA,                        )
                                          )
                            Defendant.    )

                                    INTRODUCTION

       Mr. Sharma pled guilty to one count of Wire Fraud, agreeing in the plea agreement

that he fraudulently applied for PPP loans (ECF No. 51, pp. 1–2, 5–6). While he agrees

he applied for and received loans for large amounts of money, and he agrees the

sentencing guidelines range in this case is 63–78 months (PSR, ECF No. 68, ¶ 71), it is

respectfully submitted Mr. Sharma’s unique personal factors justify a sentence of

probation. Mr. Sharma is a 48-year-old successful businessman, software developer, and

devoted family man. He has no history of fraud. The defense will further explain,

through this position regarding sentencing, the facts of the case, the personal

circumstances of Mr. Sharma, and how the 18 U.S.C. § 3553(a) factors justify a

probationary sentence.

                    OUTSTANDING DEFENSE PSR OBJECTIONS

       Mr. Sharma has several outstanding PSR objections and corrections as follows:
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       Preliminary PSR (ECF No. 62), paragraph 7 (Final PSR (ECF No. 68), paragraph

8): Mr. Sharma challenged his removal from Crosscode, he denies all Board allegations,

he asserts that all the documents were fully audited financials meeting industry standards,

and he entered into a settlement agreement. The PSR included this information in

paragraph 22 of the final PSR, but not in paragraph 8.

       Preliminary PSR (ECF No. 62), paragraph 18 (Final PSR (ECF No. 68),

paragraph 19): Mr. Sharma withdraws this objection. Mr. Sharma will ensure restitution

is paid in full as explained below.

       Preliminary PSR (ECF No. 62), paragraph 20 (Final PSR (ECF No. 68),

paragraph 21): In addition to his acceptance of responsibility statement, on November

13, 2020, Mr. Sharma voluntarily provided what can only be described as a confession to

FBI agents at the airport.

       Preliminary PSR (ECF No. 62), paragraphs 24, 30, 34, and 68 (Final PSR (ECF

No. 68), paragraphs 26, 32, 36, and 71): Mr. Sharma waives his loss amount objection,

but moves this Court for a downward departure based on the lesser actual loss amount.

       Preliminary PSR (ECF No. 62), paragraph 47 (Final PSR (ECF No. 68),

paragraph 49): Mr. Sharma obtained his undergraduate degree in 1995, not 1996.

       Preliminary PSR (ECF No. 62), paragraph 49 (Final PSR (ECF No. 68),

paragraph 51): Mr. Sharma’s older child’s name is misspelled in the fourth line.




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                                            BACKGROUND1

          In addition to the information Mr. Sharma provided to Probation Officer Sara De

La Riva Brunzell, Mr. Sharma has provided the following background information to

undersigned counsel to inform further the Court about his background and circumstances.

          Mr. Sharma was born in Jammu, India. He grew up in Allahabad, now called

Prayagraj, in north India, with his parents and younger brother by six years. His father

was a high-ranking official within the Indian government at the time and worked in

Allahabad.

          From kindergarten through twelfth grade, Mr. Sharma attended a private Catholic

school, called St. Joseph’s College, in Allahabad. He was well-liked by his teachers, had

responsibilities to maintain discipline, and was a prefect (a leader with responsibilities)

from seventh grade until graduation; he was one of the longest-serving prefects in his

class. He received multiple awards (including winning science competitions) and

certifications, including for social and community service. During his high school years,

he was involved in academics, sports (badminton and cricket), community and social

service, and was an active leader with a group called Leadership Training Service, which

was responsible for instilling leadership qualities in students from an early age. He

graduated High School in the top 5% of his class. He has maintained contact with the

school and is a well-respected alumnus. Mr. Sharma still plays badminton and volunteers

to teach children how to play badminton in Minnesota.



1
    Some dates in this section are approximate.


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       Outside of school, Mr. Sharma spent a great deal of time studying, as academics

was his parents’ priority for him. He was also part of a group of government officials and

their families who used to regularly perform community service from a very early age.

Most of his childhood friends were either from school or children from other government

families.

       After graduating high school, Mr. Sharma worked for one year in a steel factory as

a manufacturing planner, working 45 hours and 6 days per week. He also used this year

to study and prepare to go to college, which was very competitive. The engineering

college he sought admission to received approximately 300,000 applications yearly for

fewer than 120 spots. The application process consisted of multiple stages, including an

entrance exam, interviews, and personality tests. Ultimately, Mr. Sharma was accepted

into six or seven schools, and he chose to attend the Manipal Institute of Technology and

study Electrical and Electronics Engineering. He graduated in May of 1995 with “First

Class with Distinction with University Ranks” and in the top 20 students of his class, all

of whom had their names inscribed on school walls.

       Mr. Sharma wanted to continue with school to attain his MBA. To do so, he had

to have a least one year, and preferably two years, of work experience. He already had

one year working in the steel factory, so he obtained a job with a British software

company that was expanding into India. He worked in their office in Allahabad so he

could live with his parents and save money. During this year, he studied for the MBA

exams. Similar to his undergraduate application process, applying for graduate school

was very competitive. After the written exams, he had to engage in group discussions


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(debates and presentations), complete a management aptitude assessment, and then be

interviewed by the faculty. He also applied to approximately ten MBA schools in the

United States and took the GMAT exam. He ultimately chose to study at Manipal again

for his MBA, which was a two-year program. During the program, he completed a

summer internship in New Delhi. After graduation, he had three job offers and chose a

company based in California.

          In November 1997 during his MBA program, Mr. Sharma met his wife, who was

getting her degree in medicine in the same town. They dated for a couple months until he

left to begin his work with the California company. She had two years of school left, and

they kept in contact via phone calls, letters, texting, and visits. Mr. Sharma’s first six

months of work with the California company were completed in Calcutta, where he

adjusted to the corporate culture, received training, made friends, and waited for Visa

approval to come to the United States. When he received approval for the H-1 visa work

permit program,2 he traveled to California. The first month in California was spent

getting acclimated to the culture and obtaining a driver’s license, social security number,

and so on. He stayed with this company for over a year and then worked for various

other companies over the following years.

          During this time, Mr. Sharma traveled back to India periodically both for work

purposes and to see and marry his wife. She joined him in the United States in 2000 but

returned to India in 2003 to give birth to their first child. His wife and baby remained in



2
    Mr. Sharma became a Naturalized U.S. Citizen in 2012.


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India with Mr. Sharma’s family for a few months, and Mr. Sharma would travel between

the United States and India to visit.

       For one year in the mid-2000s, the company for which Mr. Sharma worked

obtained a contract with the United States Department of Defense and chose Mr. Sharma

to lead the project. Mr. Sharma led 60–65 employees, successfully completing the

project. After this project, Mr. Sharma was put in charge of a two-year project for the

federal government, which called for his company to build an industrial consortium with

other companies. Mr. Sharma was the overall consortium lead to build a piece of key

technology for the United States Government.

       In 2007, Mr. Sharma and his wife and son moved to Chicago so his wife could

complete a one-year medical internship at the University of Chicago. They then moved

to Minnesota after his wife’s one-year internship completed so she could start her three-

year residency in Minneapolis. Mr. Sharma continued with the same company during

these years, in their Chicago and Minnesota offices, and he received promotions and

increases in responsibility. Mr. Sharma and his family bought a house when they arrived

in Minnesota and have lived there since.

       Between 2009 and 2015, Mr. Sharma worked for different technology companies

all of whom are some of the biggest names in technology, worldwide. In 2012, his wife

and his son were vacationing in New Delhi when his wife suffered a stroke in the middle

of the night. The entire right side of her body was paralyzed. For the following year, she

was on disability and worked on her recovery. She was able to substantially recover

except for some fine motor skills on her right side. She had been a practicing surgeon,


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but had to change her practice to be non-surgical. Several years later, she was able to add

some surgical procedures to her practice and remains an active doctor. Also in 2012, Mr.

Sharma’s mother passed away from multi-organ failure. In 2014, Mr. Sharma and his

wife had their second son.

       In 2015, Mr. Sharma started his first company called Crosscode with his own

money. A couple years later, Crosscode was taken from Mr. Sharma in a way he believes

was fraudulent, unlawful, and unfair. In 2019, his father passed away from organ failure.

In June/July 2020, Mr. Sharma started his new company, KloudGaze, which is a software

technology company.

       In 2016, Mr. Sharma filed for his first patent, which was eventually awarded in

2019 and is globally enforceable. He earned his second patent, also globally enforceable,

in August 2021. Mr. Sharma is in the process of filing his third global patent as part of

the new technology platform he is building.

       In February 2021, Mr. Sharma and his wife had an altercation, which resulted in

Mr. Sharma being arrested. The case has been resolved with a continuance for dismissal,

without a guilty plea and without a conviction (PSR, ECF No. 68, ¶ 44). Mr. Sharma and

his wife have made amends, continue to live together, and continue to raise their two

sons. Mr. Sharma is deeply remorseful about the incident, which was likely the result of

extreme stress.

       In mid-2021, Mr. Sharma started Neoforma, which is a health care platform with

the ultimate goal of making affordable health care available to as many people as

possible. Neoforma is already functional and has employees, an engineering team, and


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technology. Mr. Sharma is in the process of selling KloudGaze and will seek permission

to travel out of the country to complete the sale as well as to keep growing Neoforma

worldwide.

       Mr. Sharma lives at home with his wife and younger son, who is in private

elementary school. His older son is in college in Indiana, studying business, and will be

applying to business schools.

                                      ARGUMENT

       The law on sentencing is well-settled. The Court is first to resolve any factual and

legal disputes related to the PSR, calculate the statutory minimum and maximum

sentences, and determine the corresponding sentencing guidelines range. United States v.

Feemster, 572 F.3d 455, 460–61 (8th Cir. 2009). Next, the Court is to consider if a

departure from the guidelines range is warranted. Finally, the Court is tasked with

deciding whether a variance is necessary as it must impose a sentence that is “sufficient,

but not greater than necessary” to achieve the statutory sentencing objectives. 18 U.S.C. §

3553(a).

       Mr. Sharma’s offense carries a base offense level of 7 and is increased by 2 levels

for sophisticated means and 20 levels for the loss amount, and decreased by 3 levels due

to acceptance of responsibility (PSR, ECF No. 68, ¶¶ 25–27, 34–35). The PSR calculated

a criminal history category I (ECF No. 68, ¶ 41). With an adjusted offense level of 26

and a criminal history category I, there is a guidelines range of 63–78 months (PSR, ECF

No. 68, ¶ 71).




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       Pursuant to statutes, Mr. Sharma is eligible for one to five years of probation

(PSR, ECF No. 68, ¶ 76). Probation must include a fine, restitution, or community

service (PSR, ECF No. 68, ¶ 76). While the guidelines do not suggest probation (PSR,

ECF No. 68, ¶ 77), they are advisory and not mandatory.

 I.    Mr. Sharma’s 18 U.S.C. § 3553(a) Factors Warrant a Probationary Sentence

          A. The Nature of the Offense

       The guilty plea establishes Mr. Sharma obtained $1,773,600.00 in PPP loans he

should not have received. He also applied for an additional $7,845,446.46 in PPP loans,

which he did not receive. Mr. Sharma’s offense occurred without any violence or threat

of violence; he is not a danger to the community. Mr. Sharma is a first-time offender who

made very serious errors in judgment and thereby violated the law.

          B. Mr. Sharma’s Characteristics

       From the time he was first confronted with his unlawful conduct, Mr. Sharma has

admitted what he did wrong, taken full responsibility for it, and is trying to make amends

as best he can.

          C. The Need for Deterrence

       There are, of course, two types of deterrence: general and specific. The fact of Mr.

Sharma’s conviction will provide a strong message to others who would engage in similar

conduct and thereby fulfill the legitimate sentencing aim of providing general deterrence.

Any prison sentence Mr. Sharma receives will have limited impact in his particular case.

This is because prison would have little specific deterrent value given his age and the

consequences he has suffered thus far. “Prison is an important option for incapacitating


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and punishing those who commit crimes, but the data show long prison sentences do little

to deter people from committing future crimes” (emphasis added).3 Evidence suggests

“that short sentences may be a deterrent. However, a consistent finding is that increases

in already lengthy sentences produce at best a very modest deterrent effect.” 4

        First, research has shown that being caught is more of a deterrent than

punishment.5 Simply being caught and indicted is more of a deterrent to both Mr. Sharma

and others than a long sentence. Second, prison sentences do not particularly deter future

crime: “Inmates learn more effective crime strategies from each other, and time spent in

prison may desensitize many to the threat of future imprisonment.” 6 Third, rather than

punishment, any police presence that increases the chance of being caught is more of a

deterrent than punishment.7 Longer sentences can increase recidivism.8 Fourth,

increasing penalties does not generally deter crime because criminals often do not know

what the penalty is for the crime they are committing. 9 Therefore, increasing penalties is

not going to deter crime—it merely fills the prisons and eats up taxpayers’ dollars.




3
  U.S. Department of Justice, National Institute of Justice, Five Things About Deterrence 2 (May 2016),
https://www.ncjrs.gov/pdffiles1/nij/247350.pdf.
4
  Id.
5
  Id. at 1.
6
  Id.
7
  Id.
8
  Id.
9
  Id.


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 II.   Restitution

       Restitution and the actual loss amount consists of two loans obtained via Old

National Bank ($474,900.00 and $736,200.00) and one loan obtained via Transportation

Alliance Bank ($562,500.00). This totals $1,773,600.00.

       Pursuant to the plea agreement (ECF No. 51, ¶ 17), Mr. Sharma has agreed that the

following seized funds are subject to forfeiture:

       $331,300 from Old National Bank (Account -1176)

       $245,138.49 from Wells Fargo Bank (Account -8780)

       $85,594.94 from Old National Bank (Account -6720)

       $12,947.33 from US Bank (Account -6963)

       TOTAL:        $674,980.76

After this amount ($674,980.76) is applied to the restitution, Mr. Sharma will owe

$1,098,619.24. Mr. Sharma recognizes his obligation to pay restitution in the amount of

$1,098,619.24 and will do whatever he can to pay the amount he owes as soon as he can.

He reports that he has already obtained the required guarantees to make the payment.

III.   Specific Bases for Downward Departures and Variances for Mr. Sharma

          A. Downward Departure Basis: Loss Amount

       One issue in this case is whether this Court should use the actual loss amount

($1,773,600) or intended loss amount ($9,619,046.46) to impose the loss enhancement

under U.S.S.G. §2B1.1(b)(1). The difference in application is 4 levels and 22–27




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months.10 Mr. Sharma reserved the right to argue that the actual loss amount applied

(Plea Agreement, ECF No. 51, p. 9). Pursuant to the comments to U.S.S.G.

§2B1.1(b)(1), the “general rule” is that the “loss is the greater of actual loss or intended

loss.” U.S.S.G. §2B1.1, comment. (n.3(A)). Mr. Sharma withdraws his PSR objection

regarding the loss amount; however, he moves the Court for a downward departure or

variance because the intended loss amount and resulting guidelines range overstates the

seriousness of Mr. Sharma’s offense. This is thus a basis for a downward departure.

U.S.S.G. §2B1.1, comment. (n.21(C)).

            B. Downward Variance Bases

                    i. The advisory guidelines range is too harsh, excessive, and
                       “greater than necessary” in this particular case

        Mr. Sharma has no prior criminal convictions. He is facing a guidelines sentence

of 63–78 months (PSR, ECF No. 68, ¶ 71). For a 48-year-old man who has never been in

serious trouble before, any amount of incarceration is life-changing. The Supreme Court

in Pepper v. United States stated:

        “It has been uniform and constant in the federal judicial tradition for the
        sentencing judge to consider every convicted person as an individual and
        every case as a unique study in the human failings that sometimes mitigate,
        sometimes magnify, the crime and the punishment to ensue.” Koon v. United
        States, 518 U.S. 81, 113, 116 S.Ct. 2035, 135 L.Ed.2d 392 (1996).
        Underlying this tradition is the principle that “the punishment should fit the
        offender and not merely the crime.” Williams, 337 U.S. at 247, 69 S.Ct. 1079;
        see also Pennsylvania ex rel. Sullivan v. Ashe, 302 U.S. 51, 55, 58 S.Ct. 59,
        82 L.Ed. 43 (1937) (“For the determination of sentences, justice generally
        requires consideration of more than the particular acts by which the crime


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  By using the intended loss amount, the total offense level is 26 with a range of 63–78 months. By
using the actual loss amount, the total offense level is 22 with a range of 41–51 months.


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         was committed and that there be taken into account the circumstances of the
         offense together with the character and propensities of the offender”).

562 U.S. 476, 487–88 (2011). Mr. Sharma knows that what he did was wrong. He

regrets his choices and actions, and he has accepted responsibility.

                   ii. Stigma of a felony conviction

         Mr. Sharma will be a life-long convicted felon, and that is enough punishment.

“The stigma of a felony conviction is permanent and pervasive.” United States v. Smith,

683 F.2d 1236, 1240, n.13 (9th Cir. 1982) (quoting United States v. Glasgow, 389 F.Supp.

217, 224–25 (D.D.C. 1975)). “Sometimes [courts do not] fully recognize the anguish and

the penalty and the burden that persons face when called to account, as these men are, for

the wrong that they committed.” United States v. Prosperi, 686 F.3d 32, 48 (1st Cir.

2012).

                  iii. Mr. Sharma is unlikely to reoffend and poses no danger to the
                       public

         The likelihood that Mr. Sharma “will engage in future criminal conduct [is] a

central factor that district courts must assess when imposing sentence.” Pepper, 562 U.S.

at 492. Mr. Sharma, upon completion of this case, will return to being a law-abiding,

productive member of society. He will continue his career in business and technology

and aspires to build transformative technology that will benefit humanity.

         “It may very often be that release on probation under conditions designed to fit

the particular situation will adequately satisfy any appropriate deterrent or punitive

purpose.” United States v. Edwards, 595 F.3d 1004, 1016, n.9 (9th Cir. 2010) (quoting S.




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Rep. No. 98-225, at 92). Any terms of probation will be onerous and will certainly be a

sufficient punishment for Mr. Sharma.

                 iv. Society will benefit more from Mr. Sharma working, supporting
                     his family, and helping the community than his incarceration

       As discussed below, society will shoulder a massive financial burden to

incarcerate Mr. Sharma. A guidelines sentence would cost society approximately

$232,344.00 to $287,664.00 if he is sent to prison. Society would benefit far more if Mr.

Sharma remained at home, worked, continued to support himself and his family, created

economic development, and generated employment. He reports that his new company,

Neoforma, is already providing employment, has generated economic activity for the

state and the country, is backed by a global investor base, and has plans to hire a

substantial workforce, primarily in Minnesota, in 2022.

       Mr. Sharma reports that he has substantial responsibilities in his household, which

include caring for his 7-year-old son. He also reports that many of the basic household

duties, such as cooking and the like, fall to him because of his wife’s health. His wife,

Dr. Sharma, had a stroke and Mr. Sharma reports her ability to participate in household

tasks is somewhat limited. Mr. Sharma reports that Dr. Sharma is at a serious risk of a

second stroke and needs regular and daily care, which is provided for by Mr. Sharma.

Mr. Sharma is therefore very concerned about what would happen to his wife and son

were he to be incarcerated. He respectfully requests the Court be mindful of these

circumstances when fashioning his sentence.




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                 v. The Court’s sense of what is fair and just

       With a federal felony conviction, a fair and just sentence is probation. “Although

the sentencing judge is obliged to consider all of the sentencing factors outlined in section

3553(a), the judge is not prohibited from including in that consideration the judge’s own

sense of what is a fair and just sentence under all the circumstances. That is the historic

role of sentencing judges, and it may continue to be exercised, subject to the reviewing

court’s ultimate authority to reject any sentence that exceeds the bounds of

reasonableness.” United States v. Jones, 460 F.3d 191, 195 (2d Cir. 2006). In this case, a

merciful sentence of probation is fair and just.

IV.    Mr. Sharma’s Acceptance of Responsibility

       Mr. Sharma accepted full responsibility in this case. Mr. Sharma’s first encounter

with law enforcement authorities occurred at the airport where he was read a Miranda

warning, waived his rights, and essentially confessed to the PPP crimes alleged in this

case. Additionally, he pled guilty to the offense, and he made the following statement to

the Probation Officer:

       Between April 2020 through November 2020 in the State and District of
       Minnesota, I fraudulently applied for at least $9,619,046.46 in COVID-19
       pandemic emergency funding from 10 different lenders. I submitted 16 false
       and fraudulent applications to receive loan proceeds that I knew I was not
       entitled to receive. I obtained and misappropriated $1,773,600 in fraud
       proceeds. This violated Title 18, United States Code, Section 1343.

       I am extremely remorseful for my actions and choices. I offer no excuse for
       my decision to submit false and fraudulent applications for pandemic funds.
       I am very sorry.




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 V.    Cost to Incarcerate Mr. Sharma

                   In 1984, at the start of my career, 188 people were
                   imprisoned for every 100,000 inhabitants of the United
                   States. Other Western industrialized countries had
                   roughly equal numbers. By 2010 that figure had
                   skyrocketed to 497 people imprisoned in the U.S. for
                   every 100,000 inhabitants. Today, we imprison more of
                   our people than any other country in the world.

                   How did ‘the land of the free and the home of the brave’
                   become the world’s biggest prison ward? The U.S. now
                   houses 5% of the world’s population and 25% of its
                   prisoners. Either our fellow Americans are far more
                   dangerous than the citizens of any other country, or
                   something is seriously out of whack in the criminal-
                   justice system. . . .

                               ~U.S. District Judge Michael A. Ponsor11

       Confirming Judge Ponsor’s statement, statistics show that in the past few decades,

the general prison population has soared:12




11
   Ponsor, Michael A., The Prisoners I Lose Sleep Over, THE WALL STREET JOURNAL (Feb. 12, 2014),
available at https://www.wsj.com/articles/SB10001424052702304680904579365440971531708.
12
   The Sentencing Project, https://www.sentencingproject.org/wp-content/uploads/2021/06/US-prison-
pop-1925-2019-1.png (citing Bureau of Justice Statistics) (last visited Feb. 17, 2022).


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Compared to the rest of the world, as stated above by Judge Ponsor, the United States

imprisons a shocking number of its citizens, showing that we imprison more people than

Rwanda and Russia and far more than Spain, China, and India:13




         Justice Kennedy made a similar statement to Judge Ponsor: “Our resources are

misspent, our punishments too severe, our sentences too long. . . . [T]he sentencing

guidelines are responsible in part for the increased terms. . . . [They] should be revised

downward.” Statement of Justice Anthony Kennedy, ABA Annual Meeting (Aug. 9,

2003).

         The PSR (ECF No. 68, ¶ 81) shows that the expense of putting an offender on

probation pales in comparison to incarcerating that person:

                                 Bureau of          Community          Supervision
                                 Prison             Corrections        by Probation
                  Daily          $121.00            $98.00             $12.00
                  Monthly        $3,688.00          $2,980.00          $371.00
                  Annually       $44,258.00         $35,761.00         $4,454.00


13
  Id. at https://www.sentencingproject.org/wp-content/uploads/2021/05/intl-rates.png (citing Institute for
Crime & Justice Policy Research) (last visited Feb. 17, 2022).


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If Mr. Sharma is sentenced to 63 months (the low end of the guidelines range)—5.25

years—the United States will spend approximately $232,344.00 if he is sent to prison. If

Mr. Sharma is sentenced to 78 months (the high end of the guidelines range)—6.5

years—the United States will spend approximately $287,664.00 if he is sent to prison.

       Pursuant to statutes, Mr. Sharma is eligible for 1 to 5 years of probation (PSR,

ECF No. 68, ¶ 76). A probationary sentence of 60 months—5 years—will cost the

United States approximately $22,260.00.

                                     CONCLUSION

       For the foregoing reasons, Mr. Sharma respectfully submits that a sentence of

probation would be sufficient but not greater than necessary to achieve all legitimate aims

of sentencing under 18 U.S.C. § 3553(a).




                                            Respectfully submitted,

                                            RYAN GARRY, ATTORNEY, LLC


 Dated: February 23, 2022                   s/ Ryan Garry
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